           Case 17-29965-JNP                         Doc 20            Filed 01/03/18 Entered 01/03/18 13:14:56         Desc Main
                                                                       Document     Page 1 of 6
                                                                                                                    Last revised: August 1, 2017
                                                      UNITED STATES BANKRUPTCY COURT
                                                             District of New Jersey
 IN RE:            Durango Y Wicks                                                         Case No.:                 17-29965
                                                                                           Judge:
                                                                Debtor(s)


                                                  CHAPTER 13 PLAN AND MOTIONS - AMENDED


    Original                                                         Modified/Notice Required          Date:                1/3/18
    Motions Included                                                 Modified/No Notice Required

                                                   THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                    CHAPTER 13 OF THE BANKRUPTCY CODE.

                                      YOUR RIGHTS WILL BE AFFECTED.
You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim
may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included
motions may be granted without further notice or hearing, unless written objection is filed before the deadline
stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without further
notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien avoidance or
modification may take place solely within the chapter 13 confirmation process. The plan confirmation order
alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid
or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who
wishes to contest said treatment must file a timely objection and appear at the confirmation hearing to
prosecute same.

THIS PLAN:

   DOES DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST
 ALSO BE SET FORTH IN PART 10.

   DOES DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF
 COLLATERAL, WHICH MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE
 SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF ANY.

   DOES DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY
 SECURITY INTEREST. SEE MOTIONS SET FORTH IN PART 7, IF ANY.

 Initial Debtor(s)' Attorney GAM                                       Initial Debtor:   DYW            Initial Co-Debtor

 Part 1: Payment and Length of Plan

        a. The debtor shall pay 410.00 Monthly to the Chapter 13 Trustee, starting on Nov 1, 2017 for
 approximately 60 months.



                                                                                     1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
           Case 17-29965-JNP                         Doc 20          Filed 01/03/18 Entered 01/03/18 13:14:56         Desc Main
                                                                     Document     Page 2 of 6

             b. The debtor shall make plan payments to the Trustee from the following sources:
                           Future Earnings
                           Other sources of funding (describe source, amount and date when funds are available):


             c. Use of real property to satisfy plan obligations:
                            Sale of real property
                            Description:
                            Proposed date for completion:

                                      Refinance of real property:
                                      Description:
                                      Proposed date for completion:

                                      Loan modification with respect to mortgage encumbering property:
                                      Description:
                                      Proposed date for completion:

             d.                       The regular monthly mortgage payment will continue pending the sale, refinance or
                                      loan modification.
             e.                       Other information that may be important relating to the payment and length of plan:




 Part 2: Adequate Protection                                                         X   NONE
        a. Adequate protection payments will be made in the amount of $                                to be paid to the Chapter 13
 Trustee and disbursed pre-confirmation to    (creditor).

        b. Adequate protection payments will be made in the amount of $                                to be paid directly by the
 debtor(s) outside the Plan, pre-confirmation to: (creditor).

 Part 3: Priority Claims (Including Administrative Expenses)

       a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                              Type of Priority                                 Amount to be Paid
 Georgette Miller, Esq.                                                Attorney Fees                                             2,910.00
 Camden Cty Probation                                                  Domestic support obligations                              1,389.00
 Internal Revenue Service                                              Taxes and certain other debts                               701.95

    b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
       Check one:
          None
          The allowed priority claims listed below are based on a domestic support obligation that has been
        assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim
        pursuant to 11 U.S.C.1322(a)(4):
 Creditor                   Type of Priority             Claim Amount                Amount to be Paid




                                                                                 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
           Case 17-29965-JNP                         Doc 20          Filed 01/03/18 Entered 01/03/18 13:14:56               Desc Main
                                                                     Document     Page 3 of 6
 Part 4: Secured Claims
 Part 4: Secured Claims

 a. Curing Default and Maintaining Payments on Principal Residence:                                          NONE

          The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly
 obligations and the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the
 bankruptcy filing as follows:
                                                                                                   Interest Amount to be Paid   Regular Monthly
                                                                                                   Rate on     to Creditor (In Payment (Outside
 Creditor                                   Collateral or Type of Debt               Arrearage   Arrearage              Plan)             Plan)
 Part 4: Secured Claims

 b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
             NONE

 The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
 and the debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy
 filing as follows:
                                                                                                   Interest Amount to be Paid   Regular Monthly
                                                                                                   Rate on     to Creditor (In Payment (Outside
 Creditor                                   Collateral or Type of Debt               Arrearage   Arrearage              Plan)             Plan)
 Ally Financial/Portfolio                   2004 Mercedes-Benz E500                   2,649.93         0.00          2,649.93            252.00
 Recovery                                   220,000 miles
                                            Location: 439 Warwick
                                            Road, Lawnside NJ 08045
                                            $252pm
 Nationstar Mortgage LLC                    439 Warwick Road                         14,000.00        0.00          14,000.00              1,048.00
                                            Lawnside, NJ 08045
                                            Camden County
                                            Arrears $14,000
 Part 4: Secured Claims

 c. Secured claims excluded from 11 U.S.C. 506:                               NONE

 The following claims were either incurred within 910 days before the petition date and are secured by a
 purchase money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred
 within one year of the petition date and secured by a purchase money security interest in any other thing of
 value:
                                                                                                                 Total to be Paid through the Plan
                                                                                                 Amount of           Including Interest Calculation
 Name of Creditor                           Collateral                             Interest Rate    Claim




  d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments                                           NONE

         1.) The debtor values collateral as indicated below. If the claim may be modified under Section
 1322(b)(2), the secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in
 Collateral,” plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated
 as an unsecured claim. If a secured claim is identified as having “NO VALUE” it shall be treated as an
 unsecured claim.

                                       NOTE: A modification under this section ALSO REQUIRES
                                     the appropriate motion to be filed under Section 7 of the Plan.



                                                                               3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
           Case 17-29965-JNP                         Doc 20           Filed 01/03/18 Entered 01/03/18 13:14:56                          Desc Main
                                                                      Document     Page 4 of 6
                                                                                                                        Value of
                                                                                              Total                     Creditor         Annual Total
                                                                       Scheduled          Collateral      Superior     Interest in      Interest Amount to
 Creditor                        Collateral                                 Debt              Value         Liens      Collateral          Rate Be Paid

 -NONE-

        2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
 allowed secured claim shall discharge the corresponding lien.


 e. Surrender NONE
         Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and
 that the stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following
 collateral:
 Creditor                                                Collateral to be Surrendered                     Value of Surrendered          Remaining Unsecured
                                                                                                                     Collateral                        Debt




 f. Secured Claims Unaffected by the Plan                                      NONE

                   The following secured claims are unaffected by the Plan:
 Creditor

 g. Secured Claims to be Paid in Full Through the Plan                                          NONE
 Creditor                                                      Collateral                                          Total Amount to be Paid through the Plan


 Part 5: Unsecured Claims                              X    NONE

             a. Not separately classified allowed non-priority unsecured claims shall be paid:
                          Not less than $     to be distributed pro rata

                                       Not less than                 percent

                                       Pro Rata distribution from any remaining funds

             b. Separately Classified Unsecured claims shall be treated as follows:
 Creditor                                                Basis for Separate Classification             Treatment                           Amount to be Paid


 Part 6: Executory Contracts and Unexpired Leases                                              X   NONE

        (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of
 non-residential real property leases in this Plan.)

        All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected,
 except the following, which are assumed:

 Creditor                    Arrears to be Cured in                  Nature of Contract or Lease       Treatment by Debtor           Post-Petition Payment
                             Plan


 Part 7: Motions                   X    NONE

 NOTE: All plans containing motions must be served on all potentially affected creditors, together with
                                                                                      4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
           Case 17-29965-JNP                         Doc 20            Filed 01/03/18 Entered 01/03/18 13:14:56                     Desc Main
                                                                       Document     Page 5 of 6
 local form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J.
 LBR 3015-1. A Certification of Service, Notice of Chapter 13 Plan Transmittal and valuation must be
 filed with the Clerk of Court when the plan and transmittal notice are served.


             a. Motion to Avoid Liens under 11 U.S.C. Section 522(f). NONE
             The Debtor moves to avoid the following liens that impair exemptions:


                                                                                                                              Sum of All
                                                                                                              Amount of      Other Liens
                         Nature of                                                            Value of          Claimed      Against the Amount of Lien
 Creditor                Collateral               Type of Lien           Amount of Lien      Collateral       Exemption         Property to be Avoided


             b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.
 NONE

        The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral
 consistent with Part 4 above:


                                                                                                                      Value of
                                                                                                                      Creditor's        Total Amount of
                                                                     Scheduled    Total Collateral                    Interest in             Lien to be
 Creditor                    Collateral                              Debt         Value            Superior Liens     Collateral           Reclassified


         c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
 Partially Unsecured.     NONE

         The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and
 to void liens on collateral consistent with Part 4 above:


                                                                                                                                          Amount to be
                                                                              Total Collateral            Amount to be Deemed            Reclassified as
 Creditor                    Collateral                        Scheduled Debt Value                                    Secured               Unsecured

 Part 8: Other Plan Provisions
        a. Vesting of Property of the Estate
               Upon Confirmation
               Upon Discharge

       b. Payment Notices
       Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or
 coupons to the Debtor notwithstanding the automatic stay.


             c. Order of Distribution

             The Standing Trustee shall pay allowed claims in the following order:
                    1)   Ch. 13 Standing Trustee Commissions
                    2)   Other Administrative Claims
                    3)   Secured Claims
                    4)   Lease Arrearages
                    5)   Priority Claims

                                                                                     5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case 17-29965-JNP                         Doc 20          Filed 01/03/18 Entered 01/03/18 13:14:56             Desc Main
                                                                     Document     Page 6 of 6
                         6)        General Unsecured Claims


             d. Post-Petition Claims

        The Standing Trustee is, is not authorized to pay post-petition claims filed pursuant to 11 U.S.C.
 Section 1305(a) in the amount filed by the post-petition claimant.


 Part 9: Modification                         NONE
        If this Plan modifies a Plan previously filed in this case, complete the information below.
        Date of Plan being modified:10/2/17.
 Explain below why the plan is being modified:                Explain below how the plan is being modified:
 Added Arrears for Portfolio/Ally POC#3, corrected DSO                             Added Arrears for Portforlio/Ally POC#3, corrected DSO
 arrears, corrected arrears to IRS                                                 arrears, corrected arrears to IRS

 Are Schedules I and J being filed simultaneously with this Modified Plan?                                   Yes               No

 Part 10 : Non-Standard Provision(s): Signatures Required
        Non-Standard Provisions Requiring Separate Signatures
           NONE
           Explain here:
             Any non-standard provisions placed elsewhere in this plan are void.

              The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Certification.

         I certify under penalty of perjury that the plan contains no non-standard provisions other than those set
 forth in this final paragraph.
                Date            January 3, 2018                              /s/ Georgette Miller, Esq.
                                                                             Georgette Miller, Esq.
                                                                             Attorney for the Debtor
                Date: January 3, 2018                                        /s/ Durango Y Wicks
                                                                             Durango Y Wicks
                                                                             Debtor
                Date:
                                                                             Joint Debtor
 Signatures

             The Debtor(s) and the attorney for the Debtor(s) if any, must sign this Plan.

                Date            January 3, 2018                              /s/ Georgette Miller, Esq.
                                                                             Georgette Miller, Esq.
                                                                             Attorney for the Debtor

             I certify under penalty of perjury that the above is true.

                Date: January 3, 2018                                        /s/ Durango Y Wicks
                                                                             Durango Y Wicks
                                                                             Debtor
                Date:
                                                                             Joint Debtor


                                                                               6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
